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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UBIQUITI NETWORKS, INC.,


                          Plaintiff,

v.
                                                        Civil Action No.: 1:18-cv-05369
CAMBIUM NETWORKS, INC.;
CAMBIUM NETWORKS, LTD.;                                 JURY TRIAL DEMANDED
BLIP NETWORKS, LLC;
WINNCOM TECHNOLOGIES, INC.;
SAKID AHMED; and DMITRY MOISEEV,

                          Defendants.


       NOTICE OF PRESENTMENT OF DEFENDANTS’ MOTION TO DISMISS
        PLAINTIFF’S FIRST AMENDED COMPLAINT UNDER FRCP 12(b)(6)


       PLEASE TAKE NOTICE that on July 16 at 9:15 a.m., or as soon thereafter as counsel

may be heard, Defendants Cambium Networks, Inc. (“Cambium”) and Cambium Networks, Ltd.

(“Cambium UK”), Blip Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed, and

Dmitry Moiseev (collectively the “Defendants”) shall appear before the Honorable Gary

Feinerman or any judge sitting in his stead in Room 2125 of the Everett McKinley Dirksen

United States Courthouse, 219 South Dearborn Street, Chicago Illinois, and shall then and there

present Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint Under Federal Rule

of Civil Procedure 12(b)(6). This Motion is based on Defendants’ accompanying memorandum

and all evidence submitted in support of it, as well as any further briefing and oral argument.




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Dated: July 10, 2019                     Respectfully submitted,

                                        BAKER BOTTS, LLP

                                        /s/ G. Hopkins Guy, III
                                             One of their attorneys

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                                        Inc. et. al.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2019, I electronically filed the foregoing Notice of

Presentment of Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint Under

FRCP 12(b)(6) with the Clerk of the Court using the CM/ECF system.          I certify that all

participants in the case are registered CM/ECF users



                                            /s/ G. Hopkins Guy, III




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